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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                        :
    In re:                                              :    Chapter 11
                                                        :
    FTD Companies, Inc., et al.,1                       :    Case No. 19-11240 (LSS)
                                                        :
                    Debtors.                            :    (Jointly Administered)
                                                        :
                                                        :    Hr'g Date: August 9, 2019 at 10:00 a.m. (ET)
                                                             Obj. Deadline: August 6, 2019 at 4:00 p.m. (ET)
                                                        :

        NOTICE OF AUCTION RESULTS IN CONNECTION WITH THE
SALE OF THE FTD ASSETS AND THE RESTRUCTURED PROFLOWERS BUSINESS

PLEASE TAKE NOTICE OF THE FOLLOWING:

                   1.      On June 6, 2019, FTD Companies, Inc. and certain of its direct and

indirect domestic subsidiaries, as debtors and debtors in possession (collectively, the "Debtors")

in the above-captioned chapter 11 cases, filed with the United States Bankruptcy Court for the

District of Delaware (the "Court") the Motion of the Debtors for Entry of Orders

(I)(A) Approving Bidding Procedures for the Sale of Substantially All of the Debtors' Assets,

(B) Authorizing the Debtors to Enter Into One or More Stalking Horse Agreements and to

Provide Bidding Protections Thereunder, (C) Scheduling an Auction and Approving the Form

and Manner of Notice Thereof, (D) Approving Assumption and Assignment Procedures,

(E) Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof and

(F) Granting Related Relief; (II)(A) Approving the Sale of the Debtors' Assets Free and Clear of

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       The Debtors are the following 15 entities (the last four digits of their respective taxpayer identification
       numbers, if any, follow in parentheses): FTD Companies, Inc. (5852); Bloom That, Inc. (9936); Florists'
       Transworld Delivery, Inc. (6960); FlowerFarm, Inc. (2852); FSC Denver LLC (7104); FSC Phoenix LLC
       (7970); FTD, Inc. (1271); FTD.CA, Inc. (7556); FTD.COM Inc. (4509); FTD Group, Inc. (9190); FTD Mobile,
       Inc. (7423); Giftco, LLC (5832); Provide Cards, Inc. (3462); Provide Commerce LLC (0019); and Provide
       Creations, Inc. (8964). The Debtors' noticing address in these chapter 11 cases is 3113 Woodcreek Drive,
       Downers Grove, IL 60515.




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Liens, Claims, Interests and Encumbrances, (B) Approving the Assumption and Assignment of

Executory Contracts and Unexpired Leases and (C) Granting Related Relief [Docket No. 82]

(the "Motion").2

                   2.     On June 24, 2019, the Debtors filed with the Court the Motion of the

Debtors for Entry of an Order (I) Authorizing the Debtors to Provide Bidding Protections in

Accordance with the Bidding Procedures and the Gateway Stalking Horse Agreement and

(II) Granting Related Relief [Docket No. 185] (the "Gateway Stalking Horse Motion"). On July

2, 2019, the Court entered the Order (I) Authorizing the Debtors to Provide Bidding Protections

in Accordance with the Bidding Procedures and the Gateway Stalking Horse Agreement and

(II) Granting Related Relief [Docket No. 306].

                   3.     On June 25, 2019, the Court entered the Order (I) Approving Bidding

Procedures for the Sale of Substantially All of the Debtors' Assets, (II) Authorizing the Debtors

to Enter Into One or More Stalking Horse Agreements and to Provide Bidding Protections

Thereunder, (III) Scheduling an Auction and Approving the Form and Manner of Notice Thereof,

(IV) Approving Assumption and Assignment Procedures, (V) Scheduling a Sale Hearing and

Approving the Form and Manner of Notice Thereof and (VI) Granting Related Relief [Docket

No. 201] (the "Bidding Procedures Order"), which, among other items, approved the bidding

procedures attached thereto as Exhibit 1 (the "Bidding Procedures").

                   4.     Copies of relevant documents, including the Motion and the Bidding

Procedures Order, are available on the website of the Debtors' claims and noticing agent, Omni

Management Group, Inc., at the following address: https://omnimgt.com/FTD.


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         Capitalized terms used but not defined herein shall have the meanings given to them in the Motion or the
         Bidding Procedures (as defined herein), as applicable.



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                   5.    In accordance with the Motion, the Bidding Procedures Order and the

Bidding Procedures, on July 31, 2019, the Debtors held an Auction for the FTD Assets and the

Restructured ProFlowers Business. At the conclusion of the Auction, the Debtors, in

consultation with the Consultation Parties, selected (a) Gateway Mercury Holdings, LLC as the

Successful Bidder for the FTD Assets and the Restructured ProFlowers Business; and (b) Vine

Holding Corporation, an affiliate of Platinum Equity Small Cap Fund, L.P., as the Backup

Bidder for the FTD Assets and the Restructured ProFlowers Business. Attached hereto as

Exhibit A is a copy of the asset purchase agreement executed in connection with the Successful

Bid for the FTD Assets and the Restructured ProFlowers Business (the "Successful Bid APA").

Attached hereto as Exhibit B is a copy of the form of asset purchase agreement to be executed in

connection with the Backup Bid for the FTD Assets and the Restructured ProFlowers Business

(the "Backup Bid APA").

                   6.    Attached hereto as Exhibit C is a marked version of the Successful Bid

APA, with changes marked against the Asset Purchase Agreement, dated as of June 19, 2019, by

and among Gateway Mercury Holdings, LLC, as purchaser, and FTD, Inc., Florists Transworld

Delivery, Inc., FTD.COM Inc., FTD.CA, Inc., Provide Commerce LLC, FlowerFarm, Inc. and

Bloom That, Inc., as sellers (the "Gateway Stalking Horse Agreement") (a copy of which was

attached to the Gateway Stalking Horse Motion as Exhibit B).

                   7.    Attached hereto as Exhibit D is a marked version of the Backup Bid APA,

with changes marked against the Gateway Stalking Horse Agreement.

                   8.    The Sale Hearing to consider approval of the Successful Bid APA will be

held on August 9, 2019 at 10:00 a.m. (prevailing Eastern Time) before The Honorable Laurie




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Selber Silverstein at the United States Bankruptcy Court for the District of Delaware, 824 North

Market Street, 5th Floor, Courtroom 5, Wilmington, Delaware 19801.

                   9.    Any Objections to the conduct of the Auction and/or the particular terms

of the Successful Bid APA must be (a) in writing and state, with specificity, the legal and factual

bases thereof and include any appropriate documentation in support thereof; (b) filed with the

Court; and (c) served on the Objection Notice Parties by no later than the later of (i) August 6,

2019 at 4:00 p.m. (prevailing Eastern Time) and (ii) three business days prior to the Sale

Hearing.




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 Dated: August 1, 2019                            Respectfully submitted,


                                                   /s/ Megan E. Kenney
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                                                  ATTORNEYS FOR DEBTORS AND
                                                  DEBTORS IN POSSESSION


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